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1
2       UNITED STATES DISTRICT COURT
3       FOR THE DISTRICT OF MASSACHUSETTS
4       -----------------------------------------x
5       JOSEPH MANTHA on behalf of
        themselves and others similarly
6       situated,
7                              Plaintiff,
8       v.                                   Case no. 1:19-cv-12235
9       QUOTEWIZARD.COM, LLC,
10      Defendant.
11      -----------------------------------------x
12                              2:21 p.m.
                               July 28, 2020
13
14                    VIDEOTAPED VIRTUAL DEPOSITION of LEAD
15      INTELLIGENCE INC., by and through GEORGE RIOS, a
16      non-Party in the above entitled matter, pursuant
17      to Subpoena, before Stephen J. Moore, a Registered
18      Professional Reporter, Certified Realtime Reporter
19      and Notary Public of the State of New York.
20
21
22
23
24
25

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                                                                         Page 2

1                                   GEORGE RIOS
2       A P P E A R A N C E S
3                     BRODERICK LAW PC
4                              Attorneys for Plaintiffs
5                              208 Ridge Street
6                              Winchester, MA 01890
7                     BY:      EDWARD A. BRODERICK, ESQ.
8                     NELSON MULLINS RILEY & SCARBOROUGH
9                              Attorneys for Defendant
10                             One Post Office Square
11                             Boston, MA 02109
12                    BY:      KEVIN POLANSKY, ESQ.
13                    KLEIN MOYNIHAN TURCO LLP
14                             Attorneys for RevPoint Media, LLC.
15                             450 Seventh Avenue
16                             New York, NY         10123
17
18                    BY:      EVAN KING, ESQ.
19                    MARION & ALLEN
20                             Attorneys for Plural Marketing
21                             Solutions, Inc. and the Witness
22                             488 Madison Avenue
23                             New York, New York             100222
24
25                    BY:      ROGER MARION, ESQ.

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1                                    GEORGE RIOS
2                               THE VIDEOGRAPHER:             We are on the
3                     record.     The time is approximately 2:21
4                     p.m., on Tuesday, July 28th, 2020.
5                               Please note microphones are
6                     sensitive and will pick up whispering and
7                     private conversations and cellular
8                     interference.
9                               Please turn off all cell phones and
10                    place them away from your microphones as
11                    they will interfere with deposition audio.
12                              Audio and video recording will
13                    continue to take place unless all parties
14                    agree to go off the record.
15                              This is media unit 1 of the video
16                    recorded deposition of George Rios, taken
17                    for counsel for the Plaintiff in the
18                    matter of Joseph Mantha on behalf of
19                    themselves and others similarly situated
20                    versus Quotewizard.com, LLC.
21                              The case is filed in the United
22                    States District Court for the District of
23                    Massachusetts, case number 1:19-CV-12235.
24                              The deposition is being held via
25                    teleconference.         I am Ken Williamson.               I

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                                                                           Page 4

1                                    GEORGE RIOS
2                     am the videographer for Veritext New
3                     England.     Our court reporter is Stephen
4                     Moore, also with Veritext New York.
5                              Please note I am not authorized to
6                     administer an oath I am not related to any
7                     party in this action, nor am I financially
8                     interested in the outcome.
9                              Counsel, please identify yourself
10                    and state your appearance for the record,
11                    beginning with the noticing attorney.
12                             MR. BRODERICK:           Edward Broderick
13                    for the Plaintiff, Joseph Mantha.
14                             MR. POLANSKY:           Good afternoon,
15                    Kevin Polansky for the Defendant,
16                    Quotewizard.
17                             MR. MARION:         Roger Marion.
18                             And one correction, it's the
19                    deposition of George Rios on behalf of
20                    Plural Marketing Solutions, Inc., not just
21                    as an individual, and that is my client.
22                             MR. KING:        And Evan King,
23                    representing RevPoint Media, LLC.
24                             THE VIDEOGRAPHER:              Please swear
25                    in our witness.

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                                                                           Page 5

1                                    GEORGE RIOS
2
3       G E O R G E                R I O S,          called as a witness,
4                     having been first duly sworn by the Notary
5                     Public, was examined and testified as
6                     follows:
7
8       EXAMINATION BY
9       MR. BRODERICK:
10
11                    Q        Good afternoon, Mr. Rios.                 Just
12      a couple of quick ground rules.
13                             I am going to ask you a series
14      of questions, obviously, but I would just ask
15      you to let me finish my question before you
16      start your answer so that we have a clean
17      record and it's easier to take down.
18                    A        Understood.
19                    Q        The other thing is all your
20      answers will have to be verbal, meaning you
21      can't nod or say um-hum.                We will just need a
22      full answer so that it's clear.
23                             Can you tell me, state your full
24      name for the record?
25                    A        George Rios.

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                                                                         Page 6

1                                      GEORGE RIOS
2                     Q        Where are you employed?
3                     A        Plural Marketing Solutions.
4                     Q        What's your job title there?
5                     A        I am the owner.
6                     Q        Are you the CEO as well?
7                     A        Yes.
8                     Q        How many employees do you have,
9       if any?
10                    A        None.
11                    Q        How long have you owned Plural
12      Marketing Solutions?
13                    A        I founded the company around
14      March of 2017.
15                    Q        And what relationship, if any,
16      is there between Plural Marketing Solutions and
17      RevPoint Media, LLC?
18                    A        Now, none.
19                    Q        Formerly what relationship did
20      you have?
21                    A        As of what date?
22                    Q        Well, when did your relationship
23      stop?
24                    A        It stopped -- I mean, I would
25      have to go back and look at my records, I'm not

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                                                                         Page 7

1                                      GEORGE RIOS
2       100 percent sure, but it stopped probably
3       around a year ago.
4                     Q        What did you do when you were
5       working with RevPoint, what did Plural
6       Marketing Solutions do with them?
7                     A        We are affiliate partners.
8                     Q        What is an affiliate partner?
9                     A        We basically broker consumer
10      information through our systems and pass those
11      records along so that they can ultimately be
12      sold into a larger marketplace so that the
13      requesting consumer can receive a quote on a
14      variety of services or products.
15                    Q        Do you have a background in
16      computer science?
17                    A        I do.
18                    Q        What's your education?
19                    A        College dropout.
20                    Q        And what did you study in
21      college when you were there?
22                    A        Computer science; yes.
23                    Q        Is Plural Marketing Solutions
24      your first job post-college?
25                    A        No.

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                                                                         Page 8

1                                     GEORGE RIOS
2                     Q        Where did you work before
3       Plural?
4                     A        I held different positions
5       working with the computer science field at
6       different companies over the last 15 or 20
7       years.
8                     Q        Is Plural the first time you
9       were self-employed?
10                    A        Yes.
11                    Q        Does Plural Marketing Solutions
12      have any direct relationship with
13      Quotewizard.com?
14                    A        No.
15                    Q        Do you know who Adam Brown is?
16                    A        Not directly, no.
17                    Q        How about indirectly?
18                    A        His name became known to me
19      during this case.
20                    Q        Do you understand that at least
21      for purposes of this deposition, we are here to
22      determine the validity of the claim that my
23      client, Joseph Mantha, opted in to receive
24      calls or texts from Quotewizard.
25                             Do you understand?

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1                                    GEORGE RIOS
2                     A        That's my understanding.
3                              MR. MARION:          Objection to form,
4                     but obviously it's been answered.
5                     Q        Do you have any knowledge as to
6       whether Mr. Mantha consented to receive text
7       solicitations from Quotewizard?
8                     A        My understanding is that he did.
9                     Q        And what do you base that on?
10                    A        I don't send any text messages
11      or anything, but the record that we received
12      did indicate that there was an opt-in consent.
13                    Q        And from whom did you receive
14      that record?
15                    A        From one of my partners.
16                    Q        Which partner did you receive it
17      from?
18                    A        From a firm called Phoenix Media
19      Solutions.
20                    Q        Is there anything more to the
21      name, is it an LLC or an Inc.?
22                    A        I'm afraid I don't know.
23                    Q        Do you know where they are
24      located?
25                    A        Bosnia.

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                                                                       Page 10

1                                    GEORGE RIOS
2                     Q       How did Phoenix Media Solutions
3       provide -- what was the record that you
4       referenced?
5                     A       The recording that was provided
6       to me by Phoenix was Mr. Mantha's contact
7       information along with some auto insurance
8       information indicating that he was interested
9       in an auto insurance quote at that time.
10                    Q       Did the record that you received
11      from Phoenix Media Solutions indicate that he
12      had opted in to receive this information on a
13      website?
14                    A       It did.
15                    Q       What website?
16                    A       SnappyAutoInsurance.
17                    Q       Did you produce that record in
18      response to a subpoena issued to Plural in this
19      case?
20                    A       I did.
21                    Q       Let's look at Exhibit 22.
22                            I will ask you to scroll down
23      after Exhibit C.
24                    A       Yes, I see it.
25                    Q       You see it?           And it says at the

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                                                                       Page 11

1                                    GEORGE RIOS
2       top "Original source lead generator"?
3                     A       Right.
4                     Q       Just so we are looking at the
5       same page.
6                     A       Yes.
7                     Q       Is this the record that you
8       received from Phoenix Media Solutions?
9                     A       That's correct.
10                    Q       Was it in exactly -- sorry?
11                    A       That's, just a point of
12      clarification, this is the TCPA audits, which
13      is sent upon request in the event that there is
14      a discrepancy about whether or not the consumer
15      had consented.
16                            And that's what this is.
17                            The full record has also been
18      sent as part of the initial process when I was
19      first contacted.
20                            That does contain some auto
21      insurance information as well as some
22      additional details that were provided on the
23      form.
24                    Q       You say it has been sent.                   To
25      whom has it been sent?

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                                                                       Page 12

1                                    GEORGE RIOS
2                     A       I'm sorry, I didn't catch that.
3                     Q       You say the full record that you
4       received was sent.
5                             And I was just asking to whom
6       was that sent?
7                     A       It was provided to RevPoint.
8                     Q       Did you send that to RevPoint
9       via an e-mail?
10                    A       No, it was sent as part of the
11      original request.
12                            And then it was sent -- sorry,
13      it was sent as part of the original request
14      when the transaction happened, and then it was
15      sent again I believe through my attorney to
16      either Mr. King or perhaps Mr. Polansky, I'm
17      not sure who, but the full record was sent.
18                            What you are looking at here is
19      the TCPA audit that indicates when the person
20      actually filled out the form and on what site.
21                    Q       And the TCPA audit, where did
22      that -- that we are looking at here in Exhibit
23      22, that came to you from Phoenix Media
24      Solutions in Bosnia?
25                    A       Correct; yeah.                I requested this

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                                                                       Page 13

1                                    GEORGE RIOS
2       when I was initially contacted by RevPoint that
3       there was an issue, and as part of our normal
4       process, I requested this information, and I
5       forwarded it to RevPoint so they would have it
6       for their records.
7                     Q       And was this provided to you via
8       e-mail from Phoenix Media Solutions?
9                     A       Correct.
10                    Q       Do you still have that e-mail?
11                    A       I forwarded it already to my
12      attorney, who I believe forwarded it off to
13      RevPoint for their records.
14                            MR. BRODERICK:                Okay, I will just
15                    for the record say I don't believe we
16                    have seen that e-mail, and we think it's
17                    both responsive to the subpoena request
18                    and the document request to Quotewizard
19                    in the case, but I understand
20                    Mr. Polansky has an objection.
21                            MR. POLANSKY:             What?
22                            I have never seen that
23                    documentation.
24                            MR. BRODERICK:                You haven't,
25                    okay.

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                                                                       Page 14

1                                   GEORGE RIOS
2                             MR. POLANSKY:           I didn't lodge an
3                     objection, unless -- I can't object to
4                     something I haven't seen before.
5                             MR. BRODERICK:            Okay.
6                             Well, that will be -- we will take
7                     that up with Roger, but I think that was
8                     responsive to our original subpoena.
9                             MR. MARION:          I don't see a more
10                    responsive request in my e-mail, which I
11                    am looking in right now and searching
12                    for the word Phoenix, but I will do a
13                    search with my client, and if we come up
14                    with a more expanded search, of course
15                    we will provide it.
16                            MR. BRODERICK:            Okay.
17                    Q       So you got an e-mail from
18      Phoenix Media Solutions.               Was this page in the
19      form of a separate document attached to the
20      e-mail?
21                    A       I don't recall, it was probably
22      in the body of the e-mail, but I can't say for
23      sure.
24                    Q       Do you think that you then cut
25      and pasted that information into this document?

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                                                                        Page 15

1                                    GEORGE RIOS
2                     A       The document that we are looking
3       at, yes.
4                             MR. MARION:           You can answer if
5                     you understand the question.
6                     A       Are you asking me if I took the
7       body of wherever I got this and paced it into a
8       PDF?
9                             I believe I did do that, yes, so
10      that it would be in a clean format for e-mail.
11                    Q       Okay, and do you still have that
12      PDF?
13                    A       I am sure it's in my e-mail,
14      yeah.
15                            MR. MARION:           May I interject?
16                            MR. BRODERICK:                Please.
17                            MR. MARION:           Please take a look
18                    at the following pages.                 When you say
19                    expanded information, are you talking
20                    about the pages that follow the one you
21                    are looking at in the same exhibit?
22                            THE WITNESS:            Well, I am looking
23                    at page 14 of 20 of Exhibit 22, original
24                    source lead generator.
25                            MR. MARION:           Right.         I am saying

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                                                                         Page 16

1                                     GEORGE RIOS
2                     there are pages that follow that in the
3                     same document.
4                               If he scrolls down, I am asking if
5                     those are the pages he's talking about as
6                     the expanded record.
7                               MR. BRODERICK:            Could you turn
8                     your mic up a little bit, Roger?                     You
9                     are a little faint.
10                              MR. MARION:          I will try and
11                    figure out how to do that.
12                              MR. BRODERICK:            Or get closer to
13                    the mic.
14                              MR. MARION:          Okay.      Is that
15                    better?
16                              MR. BRODERICK:            That's better.
17                              MR. MARION:          I was saying in the
18                    same exhibit, as you scroll down, there
19                    is other insurance related pages, and I
20                    am wondering if that's what my client is
21                    talking about as the expanded
22                    information.
23                    Q         Okay, you see what follows page
24      14 of 20, it looks like, I'm not sure if it's a
25      screen shot or how that was created, but it

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                                                                       Page 17

1                                    GEORGE RIOS
2       looks like the web page
3       SnappyAutoInsurance.com.
4                     A       Correct, yeah, that just looks
5       like it's a screen shot.
6                             What I was referring to
7       specifically is what you asked me to look at in
8       terms of the TCPA audit on that one page, which
9       looks like it's 14 of 20.                 That's what I was
10      referring to.
11                    Q       Who is your contact at Phoenix
12      Media Solutions?
13                    A       Dario Osmancevic.
14                    Q       Do you know how to spell
15      Osmancevic?
16                    A       Give me a second.
17                            So Dario, so the last name is
18      O-s-m-a-n-c-e-v-i-c.
19                            MR. POLANSKY:             O-s-m-a-n-c-e-v-i-
20                    c, yes, O-s-m-a-n-c-e-v-i-c.
21                    Q       Do you have his e-mail address?
22                    A       I can provide that, yes.
23                    Q       Do you see on page 14 of 20 on
24      Exhibit 22, Adam Brown?                Sorry if I just asked
25      you this, but do you know who Adam Brown is?

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1                                    GEORGE RIOS
2                     A       I do not.
3                     Q       So the only reason that appears
4       on this document is it was provided by Phoenix
5       Media Solutions to you?
6                     A       Correct; correct.
7                     Q       Have you ever exchanged any
8       e-mails with Adam Brown at that e-mail address?
9                     A       I have not.
10                    Q       What else if anything did
11      Phoenix Media Solutions tell you about this
12      lead?
13                    A       Just what you see here is what
14      they have provided to me.
15                    Q       And what was your e-mail, what
16      did your e-mail say to Phoenix Media Solutions
17      when you were trying to find out the source of
18      the consent?
19                    A       I gave him the contact
20      information of the person that had reached out
21      to I guess file the requests, and she looked it
22      up and sent me what you see here.
23                    Q       When you sold this lead
24      regarding Mr. Mantha to RevPoint, did you know
25      Mr. Mantha's name at that point?

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                                                                        Page 19

1                                     GEORGE RIOS
2                     A       No.
3                     Q       And did you have it in your
4       system, not what you remember, but that wasn't
5       part of the lead that you sold?
6                             MR. MARION:            Objection to form.
7                     You can respond if you understand the
8                     question.
9                     Q       Let me try to clean that up.
10                            What was on the lead that you
11      sold to RevPoint?
12                    A       I'm not sure I understand.                     It's
13      contact information.
14                    Q       But his name, the name Joe
15      Mantha?
16                    A       Correct, yes.              The address, the
17      city, the state, the phone number, the fact
18      that it was not on a DNC at the time, that
19      phone number was not on a DNC at the time, the
20      e-mail address had been validated, and I
21      believe there was auto insurance information on
22      there as well in terms of the make and model
23      and year of his vehicle.
24                    Q       Did you do anything to validate
25      that information yourself?

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                                                                       Page 20

1                                    GEORGE RIOS
2                     A       I'm not able to do that, no.
3                     Q       And you said the e-mail address
4       was validated.         What did you mean by that?
5                     A       Meaning that it was a properly
6       formed valid e-mail syntactically, there were
7       no spaces in the domain, there was no
8       semicolons or anything that would make it an
9       invalid e-mail.
10                    Q       But you didn't send a test
11      e-mail to that e-mail to see if it worked?
12                    A       No.
13                    Q       Did you do anything to check
14      what the TCPA disclosure language, if any, was
15      on the SnappyAutoInsurance website?
16                    A       No.
17                    Q       Are you familiar with a website
18      called Autoinsurquotes.com?
19                    A       I saw it on the documentation in
20      this case, but prior to that, no.
21                    Q       How about -- what's the other
22      one, maybe -- how about Quotewizard?
23                            MR. BRODERICK:                No, no, excuse
24                    me.   Kevin, help me out.
25                            MR. POLANSKY:             Unitedquotes.com.

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                                                                       Page 21

1                                    GEORGE RIOS
2                             MR. BRODERICK:                Unitedquotes,
3                     thank you.
4                     Q       Unitedquotes.com?
5                     A       Thank you, yes.                That is one of
6       my properties.
7                     Q       That's one of your properties?
8                     A       Yes.
9                     Q       And when you say one of your
10      properties, do you mean you own the domain for
11      Unitedquotes.com?
12                    A       I own the domain for
13      Unitedquotes.com, correct.
14                            MR. MARION:           Objection to form.
15                    When you say "I" do you mean yourself or
16                    an entity?
17                    A       I mean Plural Marketing owns it.
18                    Q       Plural Marketing owns it.
19                            I am going to ask you to look at
20      Exhibit 17 -- actually, sorry, let's go back to
21      22, where we were.
22                            I just want to note a couple of
23      things about this, page 14 of 20 of Exhibit 22.
24                            This is information you say you
25      were provided by Phoenix Media Solutions.

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                                                                         Page 22

1                                       GEORGE RIOS
2                               It says the original source lead
3       generator was SnappyAutoInsurance.com, correct?
4                     A         That's correct, to my
5       understanding.
6                     Q         And is that one of your
7       properties?
8                     A         No.
9                     Q         Do you have any relation to
10      SnappyAutoInsurance.com?
11                    A         None.
12                    Q         Under applicant IP address --
13                    A         Yes.
14                    Q         -- I will ask you to write this
15      down, because we are going to compare it to
16      others.           It's 96 -- hold on.             96.242.132.28.
17                    A         Yes, I see it.
18                    Q         And it also says that the
19      applicant IP address is Morristown, New Jersey.
20      Do you see that?
21                    A         Yes, I see that.
22                    Q         And the date of the application,
23      and this is on the information provided to you
24      by Phoenix Media Solutions in Bosnia, is
25      6-26-2019 at 12:01 a.m.

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                                                                       Page 23

1                                    GEORGE RIOS
2                     A       That's what I see here, yes.
3                     Q       And at the very bottom of this
4       page it says, "Applicant agreed to receive
5       promotional e-mails/calls/text/postal mails
6       from third parties regarding his auto insurance
7       application."
8                             What's your understanding of
9       where that language came from?
10                    A       I can't speak to that.
11                    Q       But that was -- was that exact
12      language provided to you by Phoenix Media
13      Solutions in Bosnia?
14                    A       It was.
15                    Q       Now, let's go to Exhibit 17.
16                    A       Yes.
17                    Q       And here we have the same
18      consumer IP address on this document as was on
19      Exhibit 22, correct?
20                    A       Yes, it looks like it.
21                    Q       But this document has a Jornaya
22      lead ID?
23                    A       Yes.
24                    Q       Did you have a Jornaya lead ID
25      when you sold this lead to RevPoint?

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1                                    GEORGE RIOS
2                     A       That's the one that was attached
3       to the record during the transaction.
4                     Q       During which transaction?
5                     A       When the record was initially
6       sold.
7                     Q       So by Plural to RevPoint?
8                     A       Correct.
9                     Q       Did Phoenix Media Solutions
10      provide you with that Jornaya lead ID?
11                    A       They provided a record that did
12      not include this Jornaya lead ID.
13                    Q       Then how did it get attached to
14      the lead during the transaction?
15                    A       I'm not entirely sure.                  I looked
16      today to refresh my memory of this particular
17      record, and I did not see that Jornaya lead ID
18      attached.
19                            Then I looked further and saw
20      that it was generated on my site, one of my
21      sites, I'm not entirely sure how it got linked,
22      but the original record didn't include it.
23                    Q       Did you attach the Jornaya lead
24      ID to this lead?
25                            MR. POLANSKY:             Can I hear that

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1                                     GEORGE RIOS
2                     question again?           I couldn't hear the
3                     question.
4                     Q       Were you the one who attached
5       the Jornaya lead ID to Mr. Mantha's lead?
6                     A       No, I'm not sure how that
7       happened.
8                     Q       You don't know if someone at
9       RevPoint did that?
10                    A       I don't know.
11                    Q       But are you sure that you were
12      not provided that Jornaya lead ID by Phoenix
13      Media Solutions in Bosnia?
14                    A       It's possible.                 I have to look
15      and doublecheck, I'm not sure.
16                    Q       Can we look at Exhibit 18, and I
17      can represent to you that this is a subpoena
18      response in this case from Jornaya.
19                    A       Yes.
20                    Q       And that same Jornaya lead ID
21      appears here, and I can also represent to you
22      that Jornaya associates that lead ID with
23      Unitedquotes.com.
24                    A       Okay.
25                    Q       Can you explain why a lead that

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1                                    GEORGE RIOS
2       supposedly came from SnappyAutoInsurance has a
3       Jornaya lead ID that's associated with a site
4       to Unitedquotes.com, which is a domain that you
5       own?
6                     A       Well, clearly it's a mistake,
7       because the lead was not sourced on
8       Unitedquotes.
9                     Q       Do you have any personal
10      knowledge that it was sourced on
11      SnappyAutoInsurance.com?
12                    A       Only what was provided to me by
13      Phoenix.
14                    Q       And you don't know where Phoenix
15      got the lead, do you?
16                    A       I do not.
17                    Q       Has Phoenix ever told you
18      anything about how they get their leads that
19      they then sell to you?
20                    A       No.
21                    Q       Can you look at Exhibit 17,
22      which is the Quotewizard opt-in?
23                    A       Yes.
24                    Q       Do you see the language under
25      TCPA disclosure?

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1                                    GEORGE RIOS
2                     A       Yes.
3                     Q       Did you provide that language to
4       RevPoint?
5                     A       That may have also come from a
6       request from Phoenix to elaborate on what the
7       disclosure actually was at the time the
8       consumer filled out the form.
9                     Q       So you got this TCPA disclosure
10      language from Phoenix Media Solutions in
11      Bosnia, correct?
12                    A       Correct; yeah.
13                    Q       Then did you in turn provide
14      that to RevPoint Media?
15                    A       I did.
16                    Q       And was that when -- after Mr.
17      Mantha complained that he had gotten a call or
18      rather a text message that he didn't want, were
19      you contacted by someone at RevPoint Media?
20                            MR. MARION:           Objection to form.
21                            You can answer if you understand
22                    the question.
23                    A       Was I contacted by RevPoint
24      Media when the complaint was lodged to them, is
25      that the question?

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1                                    GEORGE RIOS
2                     Q       Yes.
3                     A       Yes.
4                     Q       Was that a phone call or an
5       e-mail?
6                     A       I don't recall.
7                     Q       Do you still have your e-mails
8       from 2019?
9                     A       I'm sure I have some.                 I mean
10      I --
11                    Q       When you responded to the
12      subpoena to Plural Marketing Solutions in this
13      case, did you search for e-mails?
14                    A       I did.
15                    Q       And at that time did you have
16      them?
17                    A       I provided everything that I
18      could find.
19                    Q       And to whom did you provide it,
20      your counsel?
21                    A       Yes.
22                    Q       And did you send it to anyone
23      else?
24                    A       So, I believe the order of
25      events were that I was contacted by RevPoint in

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1                                    GEORGE RIOS
2       regards to this particular issue, it may have
3       been over e-mail, I don't recall, or it could
4       have been a phone call.
5                             They asked me to look into where
6       the particular record came from.
7                             I responded with the standard
8       TCPA information that is required when these
9       complaints are lodged.
10                            At which point I believe a few
11      weeks or months went by, and then I engaged my
12      counsel to work directly with the other lawyers
13      to basically exchange information, and I
14      started providing the documentation to my
15      attorneys, which in I guess just normal course
16      gave it to the other attorneys.
17                    Q       You say the other attorneys.
18      Was that Mr. King?
19                    A       I believe it was Mr. King, yes.
20                    Q       How about Mr. Polansky?
21                    A       I'm not sure who Mr. Polansky
22      represents.
23                    Q       Quotewizard.
24                    A       Okay, yeah, I don't think we had
25      any direct contact.

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1                                     GEORGE RIOS
2                     Q       With anybody for Quotewizard,
3       okay.
4                     A       Right.
5                     Q       Did you do any business with a
6       company called Blue Flame Media?
7                     A       No.
8                     Q       How about Seal Dog Media?
9                     A       No.
10                    Q       Does Plural Marketing Solutions
11      have a Jornaya account?
12                    A       Yes.
13                    Q       What kind of account is that?
14                    A       It's a standard account.
15                    Q       Are you a publisher, do you
16      know?
17                    A       On their system I believe it's
18      set up to be a publisher.
19                    Q       And can you generate your own
20      Jornaya lead IDs, or visits to --
21                    A       Yes, yes.
22                    Q       What websites does Plural
23      Marketing Solutions run?
24                    A       Unitedquotes.
25                    Q       Is that the only one?

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1                                    GEORGE RIOS
2                     A       Yes.
3                     Q       And for leads that you yourself
4       generate on Unitedquotes.com, and by you I mean
5       Plural Marketing Solutions, do you associate a
6       Jornaya lead ID with each of those visits?
7                     A       Yeah, when one is generated,
8       yes.
9                     Q       Let's go back to Exhibit 18, the
10      last page, 7 of 7 of Exhibit 18, which is the
11      Jornaya subpoena response.
12                    A       Yes.
13                    Q       So, for this Jornaya lead ID,
14      which you're not sure how it got associated
15      with Mr. Mantha's lead, do you see in the
16      second box on that last page it says, "TCPA
17      information witnessed by TCPA Guardian"?
18                    A       Yes, I see that.
19                    Q       And "Jornaya cannot verify TCPA
20      disclosure language because a disclosure was
21      not tagged on the website according to
22      Jornaya's standard instructions."
23                    A       Yeah, I see that.
24                    Q       Did the Unitedquotes website,
25      did you try to install a Jornaya script to

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1                                    GEORGE RIOS
2       capture TCPA disclosure language on the
3       Unitedquotes.com website?
4                     A       I did.       There is one there
5       presently.
6                     Q       When did you install that?
7                     A       I don't recall.               It's been a
8       while.
9                     Q       Was it on the system -- I mean,
10      Jornaya says they didn't capture any disclosure
11      language on 6/21/2019, or whoever visited from
12      that IP address, which is not the same as the
13      Quotewizard ID address.
14                    A       Correct.
15                    Q       Was it months after that that
16      you put the script on that would capture any
17      TCPA disclosure language on Unitedquotes.com?
18                    A       I'm not sure.
19                    Q       Did you add the language
20      following receipt of Mr. -- notice that Mr.
21      Mantha had complained that he received an
22      unsolicited text?
23                    A       No.
24                    Q       How do you know that?
25                    A       Looking at this now, the TCPA

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1                                      GEORGE RIOS
2       Guardian, I believe that's a separate script or
3       a separate setup that I don't believe is
4       currently on the Unitedquotes sites.
5                               I believe all I have right now
6       is the generic lead ID script.
7                               So I think that's why it's
8       coming back with it can't verify the
9       disclosure, because I don't believe it's
10      tagged, you know, based on Jornaya's standard.
11                    Q         Okay, so you haven't added any
12      script which would capture your -- any
13      disclosure language on the Unitedquotes.com
14      website?
15                    A         Correct.
16                    Q         And did the Unitedquotes website
17      ever contain any disclosure that people signing
18      up there to receive a quote were agreeing to
19      receive a text message from Quotewizard.com?
20                              MR. POLANSKY:             Objection.
21                              MR. MARION:           The objection was as
22                    to form.      You can answer if you know,
23                    but he's asking if you had a very
24                    specific objection -- a very specific
25                    notice.

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1                                   GEORGE RIOS
2                     A       I'm not even sure, I have to
3       look at the specific language, and I don't know
4       if it would contain any particular company like
5       Quotewizard.
6                     Q       Right, I am looking at the
7       Unitedquotes.com terms and conditions as it
8       stands right now, and I don't see any
9       references to specific companies that might
10      market to visitors to the site.
11                    A       Yeah, that would be --
12                            MR. MARION:          If you understand
13                    the question you can answer.
14                            I believe -- counsel, I said to my
15                    client there is no standing question, so
16                    I'm not sure why he's speaking.
17                            I'm waiting for counsel to ask a
18                    question regarding what he's looking at.
19                    Q       I guess I am asking, I mean it's
20      a website that you own, correct,
21      Unitedquotes.com?
22                    A       Correct.
23                    Q       And you are the sole
24      administrator of that website, correct?
25                            MR. MARION:          Objection to form,

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                                                                         Page 35

1                                      GEORGE RIOS
2                     vagueness of "you."
3                     A         That's correct.
4                     Q         Have you ever had TCPA
5       disclosure language on your website which
6       stated that someone might get a text message
7       from Quotewizard.com?
8                               MR. POLANSKY:             Objection, you can
9                     answer.
10                    A         So, I believe what the process
11      is, because it wouldn't necessarily be under
12      terms and conditions, but I believe the process
13      would be you actually have to go through, and
14      on the last step, where the consumer is
15      prompted for their contact information, there
16      is a TCPA disclosure at the bottom that does
17      link out to a page that lists out partners, and
18      on that partners' page, Quotewizard does
19      appear.
20                    Q         Do you have a document that
21      shows us that with respect to Mr. Mantha's
22      lead?
23                    A         Well, Mr. Mantha didn't fill out
24      the form on Unitedquotes.com, but I can tell
25      you that Unitedquotes.com's TCPA disclosure on

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1                                    GEORGE RIOS
2       the last step of the form does link out to this
3       page, and that you can see it yourself, it's on
4       Unitedquotes.com/partners.
5                     Q       But you -- but you're clear that
6       Mr. Mantha didn't fill it out on
7       Unitedquotes.com?
8                     A       No, because the information was
9       provided to me by Phoenix, that he had filled
10      it out and consented to the TCPA consent form
11      on SnappyAutoInsurance.
12                    Q       How would you know to put
13      Quotewizard on Unitedquotes.com if you didn't
14      do business with them?
15                            MR. POLANSKY:             Objection.
16                            MR. MARION:           Objection to form.
17                    You can answer to the extent that you
18                    know.
19                    A       They are in the business, and
20      this is a list of virtually everybody who's in
21      the business, whether I do business with them
22      or not.
23                    Q       Mr. Rios, my apologies if I
24      already asked you this.                Do you know of a
25      website called Autoinsurquotes.com?                        And that's

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                                                                          Page 37

1                                      GEORGE RIOS
2       insure without an E.
3                     A         You mentioned it earlier, and I
4       wasn't familiar with that website until prior
5       to seeing it involved in this matter.
6                               MR. BRODERICK:                Could we take a
7                     five minute break.              I may be close to
8                     done.
9                               MR. POLANSKY:             Sure, come back at
10                    what, 3:15?
11                              MR. BRODERICK:                Sure.    Is that
12                    okay with you, Mr. Rios?
13                              THE WITNESS:            Yes, that's fine.
14                              MR. LANDAU:           The time is
15                    approximately 3:07.               We are off the
16                    record.
17                              (At this point in the proceedings
18                    there was a recess, after which the
19                    deposition continued as follows:)
20                              THE VIDEOGRAPHER:                We are on the
21                    record.     The time is approximately 3:19
22                    p.m.      Please continue.
23                    Q         Okay, Mr. Rios, I just want to
24      compare Exhibit 17 with Exhibit 22.
25                              We did talk about this, but I'm

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1                                     GEORGE RIOS
2       still very confused how this Jornaya lead ID
3       came to be associated with Mr. Mantha's lead in
4       that your subpoena response didn't have a
5       Jornaya lead ID and the Quotewizard opt-in
6       does?
7                             Do you know why that is?
8                     A       I don't.
9                     Q       And the Quotewizard opt-in,
10      which is Exhibit 17, has a lead date of 8/5/19,
11      whereas Exhibit 22, the Plural response, has a
12      lead date, a date of application of 6/26/2019
13      at 12:01 a.m.
14                            Do you know the reason for that?
15                            MR. POLANSKY:              Objection.
16                            MR. MARION:            Objection as to
17                    form, and actually as to asked and
18                    answered.
19                    Q       Do you know why there are
20      different application dates between the
21      information that Plural provided and what's on
22      the Quotewizard form?
23                            MR. POLANSKY:              Objection to
24                    characterization of lead date as the
25                    application date.

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1                                    GEORGE RIOS
2                             MR. MARION:           I join in the
3                     objection.
4                     Q       If you know.            If you don't know,
5       that's fine.
6                     A       I don't know.
7                             MR. BRODERICK:                Okay, I don't
8                     think I have any further questions,
9                     thank you.
10
11      EXAMINATION BY
12      MR. POLANSKY:
13
14                    Q       Okay, Mr. Rios.                My name is
15      Kevin Polansky.         I represent Quotewizard in
16      this case.        I do have several questions, and I
17      will go through this as quickly as possible.
18                            You said that you are the owner
19      of Plural Marketing Solutions, is that right?
20                    A       That's correct.
21                    Q       And where is Plural Marketing
22      Solutions located?
23                    A       New Jersey.
24                    Q       Is that 30 Kern Drive Flanders,
25      New Jersey?

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1                                     GEORGE RIOS
2                     A        That's my address, yeah.
3                     Q        That's your personal address?
4                     A        Right.
5                     Q        Is there a different business
6       address for Plural Marketing Solutions?
7                     A        I have like a UPS store address
8       also that I typically use for mail that's like
9       a remote address.
10                    Q        What's the UPS address?
11                    A        That would be 220 Route 10, box
12      number 105 Succasunna, New Jersey.
13                    Q        How do you spell the city name?
14                    A        Hold on, sorry.
15                             So, I'm sorry, I am a terrible
16      speller.          It's S-u-c-c-a-s-u-n-n-a, New Jersey.
17                    Q        What's Plural Marketing's
18      website?
19                    A        Plmrkg.com.
20                    Q        Now, prior to the dispute with
21      Joseph Mantha, had you heard of the website
22      SnappyAutoInsurance.com?
23                    A        No.
24                    Q        Is Plural Marketing in the
25      business of generating its own leads?

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1                                    GEORGE RIOS
2                     A       Not directly, no.
3                     Q       When you say not directly, what
4       do you mean by that?
5                     A       I mean generating means like
6       sending out e-mail or whatever, or
7       participating in SEO or search marketing.                           Is
8       that what you mean?
9                     Q       No, so I guess I will change my
10      question.
11                            So, Plural Marketing owns
12      Unitedquotes.com, right?
13                    A       Correct.
14                    Q       And does Unitedquotes.com
15      generate leads?
16                    A       It does when I have traffic
17      driven to it, yes.
18                    Q       And when traffic is driven to
19      that website, do you then sell those leads?
20                    A       Yes.
21                    Q       Is there any other forms of lead
22      generation that Plural Marketing engages in?
23                    A       No.
24                    Q       Is Plural Marketing, for lack of
25      a better word, like a middleman, they buy leads

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1                                    GEORGE RIOS
2       and then sell them, resell them?
3                     A       Correct, through like a
4       ping/post mechanism.
5                     Q       Did you use the ping/post in
6       this case with RevPoint?
7                     A       I did.
8                     Q       Did you --
9                             MR. POLANSKY:             Strike that.
10                    Q       Did Plural Marketing purchase
11      the Mantha lead from Phoenix Media Solutions?
12                    A       That's correct.
13                    Q       You said Phoenix Media Solutions
14      is a partner.         What do you mean by partner?
15      Are they just a company that you purchase leads
16      from?
17                    A       Yes, we have a relationship that
18      they drive traffic to me, and I then turn
19      around and ping/post that traffic out to other
20      partners.
21                            RevPoint happened to be one of
22      them at that time.
23                    Q       How long have you had that
24      relationship with Phoenix?
25                    A       Quite a while, probably over two

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                                                                        Page 43

1                                     GEORGE RIOS
2       years.
3                     Q        Just about --
4                     A        I'm not sure exactly.
5                     Q        Just about from the start of the
6       company?
7                     A        Yes, soon after, thereabouts.                        I
8       would have to check, I'm not sure exactly.
9                     Q        Do you own any share or --
10                             MR. POLANSKY:             Strike that.
11                    Q        Do you have any ownership stake
12      in Phoenix?
13                    A        No.
14                    Q        Does Phoenix have a U.S.
15      location?
16                    A        Not that I'm aware of.                  I don't
17      know.
18                    Q        Do you have any contact
19      information for Dario?
20                    A        Yes, I have his e-mail address.
21                    Q        And what's his e-mail address?
22                    A        It's CEO@Phoenixmedia.com, I
23      believe.          But I would have to doublecheck that.
24                    Q        Is he the only employee of
25      Phoenix?

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1                                    GEORGE RIOS
2                     A       I don't know.
3                             He is my contact, that's all I
4       can say.
5                     Q       Do you usually contact him by
6       e-mail or phone or both?
7                     A       E-mail.
8                     Q       Have you discussed with Dario
9       SnappyAutoInsurance.com?
10                    A       Just as it relates to this in
11      terms of asking him for additional contact
12      information when it was asked of me.
13                    Q       Do you know whether he purchased
14      the lead from SnappyAutoInsurance.com?
15                    A       I don't.         That's just what he
16      sent to me when I requested for the TCPA
17      information.
18                    Q       Did you pursue any diligence to
19      ensure that SnappyAutoInsurance.com was a valid
20      website?
21                    A       I didn't know about
22      SnappyAutoInsurance until this.
23                    Q       Was this the first lead
24      purchased from SnappyAutoInsurance?
25                    A       I don't know.             I don't

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1                                    GEORGE RIOS
2       necessarily always get the URLs, so I'm not
3       sure.
4                     Q       Do you know if Dario has ever
5       spoken to Adam Brown?
6                     A       I don't know.             I assume, but I
7       don't know.
8                     Q       And are you aware Adam Brown is
9       the owner of SnappyAutoInsurance.com?
10                    A       Only through this process.                    I
11      don't know.       I wasn't aware of that name prior
12      to this.
13                    Q       Have you ever been at any time
14      to the SnappyAutoInsurance.com website?
15                    A       Yeah, just to look at it after
16      it came up in this context.
17                    Q       And at the time that you looked
18      at it, was it operative, was it still working?
19                    A       Yes.
20                    Q       Did you take any screen shots of
21      what you saw at that time?
22                    A       Yeah, and I believe I sent them
23      off.
24                    Q       Let's take a look at those
25      screen shots.

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1                                     GEORGE RIOS
2                             So let's turn to Exhibit 22.
3                     A       Yes.
4                     Q       I think they are at the very
5       bottom of the exhibit.
6                     A       Yeah.
7                     Q       Okay, so I am going to start, it
8       looks like pages 16 of 20.                  Is that what you
9       have?
10                    A       Yes.
11                    Q       And are these screen shots that
12      you personally captured from
13      SnappyAutoInsurance.com?
14                    A       I believe they are, yes.
15                    Q       Do you recall around what time
16      that you captured these images?
17                    A       No, I don't.
18                            It would have been around the
19      time that the -- it would have been around the
20      time that we had to produce the screen shots
21      for the information request, but I don't
22      remember exactly what date that was.
23                    Q       Now do you see at the very top
24      there is a URL http:/SnappyAutoInsurance.com/?
25                    A       Yes, I see that.

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1                                     GEORGE RIOS
2                     Q        Do you see where it says 58
3       captures?
4                     A        Yes, I see that.
5                     Q        Do you know what that refers to?
6                     A        So, this isn't the actual
7       website, this is the Wayback Machine.
8                     Q        What is it called?
9                     A        The Wayback Machine.                 So the
10      SnappyAutoInsurance website has since gone
11      offline.          I don't know when that happened
12      exactly.
13                             But if you go to
14      WaybackMachine.com, that's the web archive and
15      that's where this screen shot came from.
16                    Q        So if you go to
17      WaybackMachine.com -- so you went to
18      WaybackMachine.com?
19                    A        To capture the images of the
20      website at that time, yeah, because I don't
21      believe the website was operational at that
22      time.
23                    Q        Okay, so these images all come
24      from the Wayback Machine website?
25                    A        That's correct, yeah.

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1                                     GEORGE RIOS
2                     Q       Do you know if you clicked in
3       all of these captures, these 58 captures?
4                     A       I'm sorry, do I know if what?
5       I'm sorry.
6                     Q       Sure.      When you were on the
7       Wayback Machine website --
8                     A       Yes.
9                     Q       And you were scrolling through
10      these web images, do you know whether you
11      scrolled through all of the 58 captures?                          It
12      appears to be a hyperlink on the website?
13                    A       No, I did not look through all
14      58.
15                    Q       And there is a date here that
16      says September 6, 2019.
17                            Do you know what that date
18      refers to?
19                            MR. BRODERICK:                Objection.      This
20                    is 10 March, 2014.
21                    A       I'm not sure.
22                    Q       Sure, let me rephrase the
23      question.
24                            Do you see there is a period of
25      time, it says 10 March, 2014 to 6 September,

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1                                     GEORGE RIOS
2       2019?
3                     A        Yes.
4                     Q        Did you enter any sort of data
5       points when reviewing on the Wayback Machine
6       website?
7                              MR. BRODERICK:                Objection.
8                              THE WITNESS:            I heard an
9                     objection.      I don't know if I am allowed
10                    to answer.
11                             MR. MARION:           Yes, to the best of
12                    your recollection.
13                             THE WITNESS:            Sorry?
14                             MR. MARION:           Yes, you can answer,
15                    yes.
16                             THE WITNESS:            I can't hear you,
17                    sorry.
18                             MR. MARION:           If you recall, yes,
19                    you can answer.
20                    A        Oh, so I don't run the Wayback
21      Machine, but my understanding, the way that it
22      works is that there are 58 captures between
23      these two dates, and that's what those two
24      dates refer to.
25                             You can click on either one of

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1                                    GEORGE RIOS
2       those direction arrows to go back in time or
3       forward in time, and this just happens to be
4       one of the earlier screen shots that I was able
5       to capture relative to the time frame that was
6       in question.
7                     Q       Okay, so this is only one of the
8       58 captures?
9                             MR. MARION:           Objection to form.
10                    A       Yes, I mean, I don't -- yeah, I
11      didn't look at the other ones, I don't know.
12                    Q       And then if you go down to the
13      next page, this is another screen shot from the
14      WaybackMachine.com, is that right?
15                    A       Yes.
16                    Q       And the same is true for the
17      next page as well, is that right?
18                    A       Yes.
19                    Q       What about, is the same true for
20      the next two pages of this exhibit?
21                    A       I would assume yes.                  I haven't
22      looked, but yes, I just looked; yeah.
23                    Q       Where it says captures in each
24      page, is it fair to say you didn't click on all
25      the captures for each of these web pages?

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1                                    GEORGE RIOS
2                     A       I did not.
3                     Q       Again, just to confirm, you
4       don't recall when you went onto the Wayback
5       Machine website?
6                     A       No.
7                     Q       Does Plural Marketing control
8       SnappyAutoInsurance.com's website?
9                     A       No.
10                    Q       Has it ever?
11                    A       No.
12                    Q       Have you ever personally spoken
13      to Adam Brown?
14                    A       No.
15                    Q       Now, you testified earlier that
16      you are the only employee of Plural Marketing,
17      is that right?
18                    A       That's correct.
19                    Q       And were you involved in the
20      process of submitting the bid from Phoenix to
21      RevPoint?
22                            MR. POLANSKY:             Strike that.
23                    Q       The lead --
24                            MR. POLANSKY:             Let me just start
25                    over.

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1                                    GEORGE RIOS
2                     Q       Were you involved in the process
3       of submitting the lead from Phoenix to
4       RevPoint?
5                     A       So, Plural's system received the
6       lead from Phoenix and then passed it to
7       RevPoint.
8                     Q       And what's the name of your
9       system, your lead system?
10                    A       It's a proprietary system.
11                    Q       And what's the name of it?                    Does
12      it have a name?
13                    A       I mean, yeah, not really, it
14      doesn't really have a name, it's just one that
15      I wrote.
16                    Q       Do you refer to it as anything?
17                    A       Not really, no.               I mean, it's
18      just a system.
19                    Q       So the system works
20      electronically, so Phoenix enters or transfers
21      the electronic data information of the lead to
22      Plural, and then you upload it into the
23      RevPoint site, is that how it works?
24                    A       Yes, so the information is
25      basically pinged to my system.                      My system in

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1                                    GEORGE RIOS
2       turn then pings that information to RevPoint.
3                             RevPoint will bid based on
4       whatever they are able to get when they ping it
5       out to their partners.
6                             And then there is a read share
7       that goes across everyone who is involved, and
8       that's basically it, and this happens in
9       seconds.
10                    Q       When the leads ping to your
11      site, do you get notification of it?
12                    A       No.
13                    Q       Is there any human interaction
14      on your end when the lead is pinged to your
15      system from Phoenix?
16                    A       No.
17                    Q       Now you testified earlier that
18      you went back before today's deposition to
19      review whether there was a Jornaya lead ID
20      associated with this lead, is that correct?
21                    A       Yes.
22                    Q       From the information that you
23      have reviewed so far, you have not found a
24      Jornaya lead ID from Phoenix to Plural, is that
25      correct?

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1                                    GEORGE RIOS
2                     A       Right, I have to go back and
3       doublecheck.
4                     Q       But there was a Jornaya lead ID
5       from Plural to RevPoint, is that correct?
6                     A       Right, that's on the record.
7                     Q       And you don't know how the
8       Jornaya lead ID got connected or attached to
9       that lead when it went from Phoenix to you and,
10      you being Plural, to RevPoint, is that correct?
11                    A       Right.
12                    Q       Now, just because --
13                            MR. POLANSKY:             Strike that.
14                    Q       You've testified that the source
15      of this lead is SnappyAutoInsurance.com, is
16      that right?
17                    A       That's correct.
18                    Q       It's not Unitedquotes.com,
19      right?
20                    A       It is not.
21                    Q       So, is it your position that
22      even though there was an erroneous Jornaya lead
23      ID associated with this lead, that doesn't make
24      the consent provided by the consumer invalid?
25                            MR. BRODERICK:                Objection.

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1                                     GEORGE RIOS
2                             MR. MARION:           Objection to form.
3                     You can respond if you understand.
4                     A       Can you rephrase that?
5                     Q       Sure.
6                             So, there was a Jornaya lead ID
7       associated with this lead when it went from
8       Plural to RevPoint, right?
9                     A       Right.
10                    Q       We have now looked at the
11      response received from Jornaya with respect to
12      this lead, right, and I think you've had a
13      chance to look at it?
14                    A       Right.
15                    Q       And that lead came from
16      Unitedquotes.com, right?
17                    A       Right.
18                    Q       So it doesn't appear to be
19      associated with the Mantha lead, is that right?
20                    A       That's correct.
21                    Q       And just because that lead or
22      that Jornaya ID isn't associated with Mantha,
23      doesn't mean Mantha didn't consent to the lead,
24      is that right?
25                            MR. BRODERICK:                Objection.

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1                                     GEORGE RIOS
2                     A       That's -- I think so, yeah.                     I
3       mean, because I received the consent
4       information from Phoenix, and in the consent
5       information it does indicate that he did
6       provide consents.            That's what I am basing that
7       off of.
8                             MR. BRODERICK:                Objection, move
9                     to strike.
10                            MR. POLANSKY:             I couldn't hear,
11                    what was it?
12                            MR. BRODERICK:                I objected and
13                    moved to strike, sorry.
14                    Q       Do you have --
15                            MR. POLANSKY:             Strike that.
16                    Q       In reviewing for today's
17      deposition, what documents did you review?
18                    A       The documents that were on the
19      Veritext site, the complaint that was sent to
20      me some time ago, my response to the subpoena,
21      and I believe that's it.
22                    Q       And the lead information
23      transferred from Phoenix to Plural is all
24      electronic?
25                    A       Yes.

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1                                     GEORGE RIOS
2                     Q       Does it look different than the
3       information that's provided on Exhibit 22?
4                             MR. BRODERICK:                Objection.
5                     Q       In other words, despite the
6       form, I understand this is a PDF document, is
7       the information accessible by you, can it be
8       generated or printed out?
9                             MR. BRODERICK:                Objection.
10                    A       This information you are looking
11      at I received from Phoenix, the information
12      that came across from the record I provided to
13      Mr. Moynahan.
14                    Q       Okay.      Let me ask you this, and
15      I think you just answered it.
16                            So the information attached to
17      Exhibit 22 is what you received from Phoenix
18      after receiving the dispute, right?
19                    A       Yes.
20                    Q       And then your testimony is you
21      provided some other information to Mr. Moynahan
22      at the time of -- at what time?
23                    A       When it was requested I provided
24      the basic contact information that came across
25      with the record plus the auto insurance, like

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1                                      GEORGE RIOS
2       the vehicle information, that would make it an
3       auto insurance quote.
4                     Q        I will turn your attention to
5       Exhibit number 19.
6                     A        Yes.
7                     Q        Go to the page 10 of 10.
8                     A        Page what, I'm sorry?
9                     Q        10 of 10.
10                    A        10 of 10.
11                             MR. MARION:             Exhibit 19 is 12
12                    pages.
13                             MR. POLANSKY:                 It's only 10 on
14                    mine.
15                    A        Oh, wait, I see it, yes.                     4 of
16      12 files.
17                    Q        I see.
18                    A        10 of 10, yeah, yeah, yeah, I
19      see it, yeah.
20                             So this is basically what I was
21      referring to earlier, this is the record, this
22      is the record that comes across when an auto
23      insurance record is put into the ping system.
24                    Q        So this is the information that
25      Plural provided to RevPoint?

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1                                    GEORGE RIOS
2                     A       Correct; yeah.
3                     Q       Do you know why, if you look at
4       the IP address on --
5                             MR. POLANSKY:             Strike that, I'm
6                     going to start over.
7                     Q       If you look at the IP address on
8       this document, can you write that down?
9                     A       Okay, yeah I've got it.
10                    Q       Let go back to Exhibit 22,
11      Plural's response.           Same page as before, after
12      Exhibit C.
13                    A       Yes.
14                    Q       Do you know why the IP addresses
15      are different if they are both coming from
16      Plural?
17                    A       I can't say.            Sometimes -- I
18      mean, I can't say exactly, but sometimes I do
19      know that the IP address changes from partner
20      to partner, because sometimes they append their
21      own server's IP address either through an
22      incorrect code or some other disconnect in
23      mapping.
24                    Q       Do you have any written
25      correspondence from Phoenix with the consent

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1                                    GEORGE RIOS
2       information included therein from Mr. Mantha?
3                             MR. BRODERICK:                Objection.
4                     A       It's what I provided, that's
5       what I have.
6                             It's what you are looking at on
7       Exhibit 22 where it says original lead source
8       generator, that's what the consent was that he
9       provided to me when I requested it.
10                    Q       Do you know if that was a screen
11      shot from the website, or if that was just a
12      summary of what he believes the consent stated?
13                    A       That's what he provided to me.
14      I don't know where he got it from.
15                    Q       Do you know what date of
16      application means on the information on Exhibit
17      22?
18                    A       I don't know, I'm not sure what
19      application is referring to.
20                    Q       The information that you
21      provided to Mr. Moynahan after receiving the
22      dispute, is that different, does it look
23      different, or is it in a different form than
24      what we just looked at in Exhibit 19?
25                    A       Hold on, in Exhibit 19?

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1                                     GEORGE RIOS
2                     Q       Yes.     So if you could turn again
3       to page 10 of 10.
4                     A       The last page?
5                     Q       Yes.
6                     A       Yes, so I think I sent both.
7                             So, this is the full record of
8       what would have been sent to RevPoint, and then
9       the TCPA audit is a -- is not all of this
10      stuff?
11                            It's just the TCPA relevant
12      information, and I believe I sent both to
13      Mr. Moynahan.
14                    Q       So the TCPA audit does not
15      include all of the information that Plural has
16      to this lead?
17                    A       All the information I have for
18      this lead is what is on page 10 of 10 of
19      Exhibit 19.       That's everything that I have.
20                    Q       Okay, but would you agree page
21      10 of 10 of Exhibit 19, it doesn't include the
22      URL for SnappyAutoInsurance.com?
23                    A       I'm sorry?
24                    Q       Sure.      On page 10 of 10 on
25      Exhibit 19, would you agree with me that

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1                                    GEORGE RIOS
2       SnappyAutoInsurance.com is not included on that
3       page?
4                     A       Yeah, I don't see it here.
5                     Q       So Plural does have more
6       information than what's contained on this
7       document, right?
8                             MR. MARION:           Objection to form.
9                     A       No.
10                            MR. BRODERICK:                Objection.
11                    A       SnappyAutoInsurance was on the
12      TCPA audit, that's how I got that URL, both of
13      which were provided to Mr. Moynahan.
14                    Q       Okay, I think I misunderstood
15      you, then.        I thought you said all the
16      information that Plural has is on page 10 of 10
17      on Exhibit 19.
18                            But now you've said that all the
19      information Plural has is on page 10 of 10 on
20      Exhibit 19 and on the TCPA audit we just looked
21      at, Exhibit 22, is that right?
22                            MR. MARION:           Objection to
23                    characterization.
24                            MR. BRODERICK:                Objection.
25                    Q       Let me ask it this way --

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1                                     GEORGE RIOS
2                     A       I'm not -- yeah, sorry, I'm not
3       sure what you are asking.
4                     Q       Sure.
5                             So, in looking at page 10 of 10
6       on Exhibit 19, and in looking at the TCPA audit
7       that's been produced by Plural in response to
8       the subpoena, which is identified as Exhibit
9       22, is there any additional information that
10      Plural has with respect to this lead?
11                    A       No.
12                            MR. MARION:           I object to form.
13                    Q       Do you know Michael Fishman?
14                    A       I know him, yes, I know him.
15                    Q       Have you spoken to him about
16      this lead?
17                    A       When it first became an issue,
18      yeah, he called me and had told me that there
19      was a complaint, and I said I would look into
20      it and try to get some information back to him.
21                            And he put me in contact with
22      Mr. Moynahan at the time, and I provided the
23      TCPA audit that I got from Phoenix.
24                    Q       Did you provide that information
25      by e-mail?

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1                                    GEORGE RIOS
2                     A       I believe I did.
3                     Q       Other than that communication
4       with Michael Fishman about the dispute, how
5       many times have you spoken to Michael Fishman?
6                     A       In what time frame?
7                     Q       With respect to this lead?
8                     A       We haven't spoken in a while.
9       We don't do business together anymore, yeah, I
10      couldn't even recall the last time I spoke to
11      him, but -- yeah, I can't even say.                        It's been
12      a while.
13                    Q       Have you heard of a company
14      called Request Path Media, Inc.?
15                    A       Yes.
16                    Q       And how do you know the company?
17                    A       That was another partner.                   I
18      believe that company is dissolved.
19                    Q       Did you create that company?
20                    A       No.
21                    Q       Request Path was a company that
22      was a partner of Plural Marketing, is that
23      right?
24                    A       No, that was not a partner, my
25      partner, so that was another entity that was,

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1                                     GEORGE RIOS
2       another marketing company that was at one point
3       affiliated with RevPoint, and I'm not sure who
4       else.         I don't remember.
5                      Q       How was Request Path Media
6       affiliated with RevPoint?
7                      A       The same way that Plural
8       Marketing is affiliated, they were just
9       affiliated partners, sold traffic on a
10      ping/post tree.
11                     Q       Does Request Path Media have
12      anything to do with Unitedquotes.com?
13                     A       No.
14                     Q       Have you ever worked for Request
15      Path Media?
16                     A       Yes.
17                     Q       What was your role at Request
18      Path Media?
19                     A       Same thing, technology.
20                     Q       Did you create Request Path
21      Media?
22                     A       No.
23                     Q       Just bear with me, I am trying
24      to move a document from a private folder to
25      this folder.          I don't know how to do that.

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1                                     GEORGE RIOS
2                             MR. BRODERICK:                 You click the
3                     button to the left of it, then you can
4                     drag it.
5                             MR. POLANSKY:              The problem is
6                     they didn't give me like a folder.                       So
7                     if I click exhibit, it goes into the
8                     Plaintiff's Exhibit folder from the
9                     other day.
10                            MR. BRODERICK:                 Meaning marked
11                    exhibits?
12                            MR. POLANSKY:              Yes.
13                            MR. BRODERICK:                 I think that's
14                    okay, it will just be marked
15                    sequentially.
16                            MR. POLANSKY:              I don't think he
17                    has access to the marked exhibits for
18                    Joe Mantha.
19                            MR. BRODERICK:                 Oh, I see.      Which
20                    one is it?
21                            MR. POLANSKY:              Which document?
22                            MR. BRODERICK:                 Which do you want
23                    it moved into?
24                            MR. POLANSKY:              I want to move in
25                    a new document called a Request Path

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1                                     GEORGE RIOS
2                     Media Florida business filing
3                     incorporation for Request Path Media.
4                               MR. BRODERICK:            Okay, yeah, I
5                     don't have that.
6                               MR. POLANSKY:           No.
7                               Wait, I might have figured this
8                     out.    I don't know why they don't give me
9                     access.
10                    Q         Let me ask you this question,
11      Mr. Rios.         Did you incorporate Request Path
12      Media?
13                    A         The initial incorporation
14      possibly I was on, but it got transferred to
15      someone else, and it's kind of personal why, I
16      mean --
17                    Q         I mean, you understand that you
18      incorporated this company on March 3, 2015, is
19      that right?
20                    A         Yes, so I transferred it to --
21      okay, so I was in the middle of, or I should
22      say I was in the beginning of a divorce.
23                              And that company was the company
24      that I was at the time had an ownership share,
25      and I was worried that that ownership share

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                                                                       Page 68

1                                     GEORGE RIOS
2       would then come into the context of the divorce
3       and make it that much more difficult.
4                             So I transferred the ownership
5       to another person, and then we operated under
6       that company for a period of time, and then it
7       got shut down.
8                     Q       Okay.      Is that when you created
9       RevPoint Media?
10                    A       I didn't create RevPoint Media.
11                    Q       Sorry, Plural Marketing
12      Solutions?
13                    A       Right.
14                    Q       At any point in time did Request
15      Path Media operate Unitedquotes.com?
16                    A       It might have been -- yeah, I
17      mean, I don't remember exactly, it might have
18      been a brand or one of the brands, but I don't
19      think it was actually.               I don't recall.
20                    Q       Do you know anyone by the name
21      of Peter Petrov?
22                    A       No.
23                    Q       What about Mario Guerrero?
24                    A       No.
25                    Q       Justin Cohen?

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1                                       GEORGE RIOS
2                     A         No.
3                     Q         And I think this was asked, but
4       I apologize, I don't have it written down.
5       Have you heard of Blue Flame Marketing, Inc.?
6                     A         No, no.
7                     Q         How far is your address from
8       Morristown, New Jersey, your business address?
9                     A         Maybe 30 minutes, give or take.
10                              MR. POLANSKY:             I think that might
11                    be all I have.           Just give me a moment.
12                              If you want we can go off or I can
13                    just look at my notes.                 It doesn't matter.
14                              MR. BRODERICK:             How long do you
15                    want to go off for, Kevin?
16                              MR. POLANSKY:             Three or four
17                    minutes.        I just want to collect my
18                    thoughts.        Come back around 4:02.
19                              THE VIDEOGRAPHER:                Okay.     The
20                    time is approximately 3:57.                   We are off
21                    record.
22                              (At this point in the proceedings
23                    there was a recess, after which the
24                    deposition continued as follows:)
25                              MR. LANDAU:           We are on the

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1                                     GEORGE RIOS
2                     record, the time is approximately 4:02
3                     p.m.    Please continue.
4                     Q        Mr. Rios, I only have a couple
5       of more questions.
6                              Did you say that Phoenix Media
7       Solutions is located in Bosnia?
8                     A        Yes.
9                     Q        Do you know if Dario, I can't
10      pronounce his last name, lives in Bosnia or
11      some other location?
12                    A        To my knowledge he lives in
13      Bosnia, but I'm not sure.
14                    Q        How did you meet Dario?
15                    A        I don't recall.
16                    Q        How did you get in touch with
17      Phoenix?
18                    A        Someone made an introduction at
19      some point, I don't remember where, through
20      e-mail, and we started talking over e-mail and
21      that was it.
22                             I sent him my spec, that was it.
23                             I mean, it's sort of like the
24      same way that I got engaged with RevPoint or
25      anybody else.

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1                                    GEORGE RIOS
2                     Q       You testified earlier that on
3       the Unitedquotes website you only have the
4       generic lead ID script for Jornaya, is that
5       correct?
6                     A       That's correct.
7                     Q       What comes with the generic lead
8       ID script?        In other words, what's captured by
9       that script?
10                    A       I don't know, I can't really
11      speak to Jornaya's technology.
12                    Q       But the consent information is
13      not tagged with the script?
14                            MR. MARION:           Objection to form.
15                    You can answer to the extent you know.
16                    A       I don't really know how that
17      piece works.
18                            It doesn't look like it is
19      working correctly based on what I saw here, and
20      I would need to look at it further and
21      understand what's wrong.                I don't know.
22                    Q       Do you have any understanding
23      for why the Jornaya lead ID was attached to the
24      lead when provided to RevPoint?
25                    A       No.

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                                                                        Page 72

1                                     GEORGE RIOS
2                             MR. POLANSKY:              No further
3                     questions.      Thank you for your time.
4                             MR. MARION:            No, no, we are not
5                     done yet.      First of all, Ted, do you
6                     have any more questions?
7                             MR. BRODERICK:                 I do not.     Thank
8                     you, Roger.
9                             MR. MARION:            So I am going to ask
10                    a couple of follow-up questions just
11                    because you guys didn't.
12
13      EXAMINATION BY
14      MR. MARION:
15
16                    Q       So, do you have a contractual
17      relationship with Phoenix?
18                    A       Yes, I do.
19                    Q       Did Phoenix make any
20      representations in its contract regarding TCPA
21      compliance?
22                    A       Yes.      He said everything he sold
23      to me would be compliant and he would be able
24      to provide that documentation in the event that
25      it was necessary.

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1                                    GEORGE RIOS
2                     Q       And did it warrant compliance in
3       any way?
4                     A       Yes, I believe that's what the
5       contract states.
6                             MR. MARION:           Nothing further.
7                             MR. LANDAU:           Anyone else have any
8                     questions?
9                             MR. POLANSKY:             I just have one
10                    follow-up.
11
12      CONTINUED EXAMINATION BY
13      MR. POLANSKY:
14
15                    Q       Does Plural have a contract with
16      RevPoint?
17                    A       Not active.
18                    Q       Right, but did it have a
19      contract requiring TCPA compliance from Plural?
20                    A       Yes; I believe that was part of
21      the agreement as well.
22                            MR. POLANSKY:             Okay, nothing
23                    further.
24                            MR. BRODERICK:                Nothing further
25                    from me.     Thank you, Mr. Rios.

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                                                                       Page 74

1                                    GEORGE RIOS
2                             THE WITNESS:            Thank you very
3                     much.
4                             THE VIDEOGRAPHER:               This concludes
5                     today's testimony given by George Rios
6                     consisting of one media unit and it will
7                     be retained by Veritext New England.
8                             At this time it is 4:06 p.m.                     We
9                     are off the record.
10
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                                                                       Page 75

1                                  GEORGE RIOS
2
3
4                            I, the undersigned, a Certified
                      Shorthand Reporter of the State of New
5                     York, do hereby certify:
                             That the foregoing proceedings were
6                     taken before me at the time and place
                      herein set forth; that any witnesses in
7                     the foregoing proceedings, prior to
                      testifying, were duly sworn; that a record
8                     of the proceedings was made by me using
                      machine shorthand which was thereafter
9                     transcribed under my direction;
                             That the foregoing transcript is a
10                    true record of the testimony given.
                             Further, that if the foregoing
11                    pertains to the original transcript of a
                      deposition in a federal case before
12                    completion of the proceedings, review of
                      the transcript [ ] was [x ] was not
13                    requested.
14                           I further certify I am neither
                      financially interested in the action nor a
15                    relative or employee of any attorney or
                      party to this action.
16                           IN WITNESS WHEREOF, I have this
                      date subscribed my name.
17
18
                         <%20932,Signature%>
19
                            Stephen J. Moore
20                           RPR, CRR
21                         Dated: 8/11/2020
22
23
24
25

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                                                                       Page 76

1                                    GEORGE RIOS
2                     DECLARATION UNDER PENALTY OF PERJURY
3                             Case Name: MANTHA v. QUOTEWIZARD
4                             Date of Deposition: July 28,
5                             2020
6
7                             I, GEORGE RIOS, hereby certify
8                             Under penalty of perjury under the
9                      laws of the State of New York that the
10                     foregoing is true and correct.
11                            Executed this ______ day of
12                            __________________, 2020, at
13                             ____________________.
14
15
16                     _________________________________
17
18                            GEORGE RIOS
19
20
21
22
23
24
25

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 1                            GEORGE RIOS
 2                       DEPOSITION ERRATA SHEET
 3                       Case Name: MANTHA v. QUOTEWIZARD
 4                       Name of Witness: GEORGE RIOS
 5                       Date of Deposition: July 28,
 6                       2020
 7                       Reason Codes: 1. To clarify the
 8                       record.
 9                       2. To conform to the facts.
10                       3. To correct transcription errors.
11      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
12      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
13      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
14      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
15      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
16      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
17      Page   _____ Line ______ Reason
        From   _______________________ to _________________
18      Page   _____ Line ______ Reason ______
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19      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
20      Page   _____ Line ______ Reason ______
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21      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
22      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
23      Page   _____ Line ______ Reason ______
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24      Page   _____ Line ______ Reason ______
        From   _______________________ to _________________
25

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1                              GEORGE RIOS
2                         DEPOSITION ERRATA SHEET
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6       Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
7       Page    _____ Line ______ Reason ______
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10      Page    _____ Line ______ Reason ______
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11      Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
12      Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
13      Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
14      Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
15      Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
16      Page    _____ Line ______ Reason ______
        From    _______________________ to _________________
17                        _________ Subject to the above
18                 changes, I certify that the transcript is
19                 true and correct
20                        __________ No changes have been
21                 made. I certify that the transcript is
22                 true and correct.
23
24                    _____________________________________
25                           GEORGE RIOS

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